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                                  Exhibit


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     REQUESTED BY:           MANZANARES, ROBERTO
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                          ICE
                                                                                  PAGE       1
  R E P O R T           OF      I N V E S T I G A T             I O N
                                                                                  CASE NUMBER MI02PR07MIOO18

    T I T L E : TEODORO NGUEMA OBIANG, ET. AL OFFICIALS EQUATORIAL GUINEA

    CASE STATUS:              INTERIM RPT

    REPORT DATE                    DATE ASSIGNED                     PROGRAM CODE                      REPORT NO.
      032612                           111506                            YAI                              076

     RELATED CASE NUMBERS:

      COLLATERAL REQ:

      TYPE OF REPORT:
    I N I T I A L SOURCE DOCUMENT/             INVESTIGATIVE FINDINGS
                                I
TOPIC: INTERVIEW OF CS#6

       SYNOPSIS:
On November 13, 2006, Agents ^ a s s i g n e d t o t h e Homeland S e c u r i t y I n v e s t i g a t i o n
(HSI) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d a c r i m i n a l i n q u i r y
i n t o t h e f i n a n c i a l a c t i v i t i e s o f M i n i s t e r TeodoroNguema OBIANG ( M i n i s t e r
OBIANG) . I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g funds a l l o c a t e d t o
the government o f E q u a t o r i a l Guinea (EG) f o r h i s own p e r s o n a l use.                         Minister
OBIANG i s c u r r e n t l y t h e M i n i s t e r o f A g r i c u l t u r e a n d F o r e s t r y i n EG.

HSI i s i n v e s t i g a t i n g M i n i s t e r OBIANG f o r money l a u n d e r i n g s t a t u t e s . OBIANG
p u r c h a s e d a mansion v a l u e d a t $32 m i l l i o n d o l l a r s d e s p i t e h a v i n g a .reported
government s a l a r y o f $60,000 a n n u a l l y . A d d i t i o n a l l y , he p u r c h a s e d a an
a i r c r a f t f o r $38 m i l l i o n d o l l a r s . M i n i s t e r OBIANG a s s e r t s h i s w e a l t h i s t h e
r e s u l t o f h i s p r i v a t e b u s i n e s s e s w h i c h a r e i n v o l v e d i n lumber and r o a d
c o n s t r u c t i o n . EG o f f i c i a l s a r e p u r p o r t e d l y p e r m i t t e d t o engage i n p r i v a t e
b u s i n e s s e s and a u t h o r i z e d t o have government c o n t r a c t s a s long as t h e
o f f i c i a l i s n ' t i n v o l v e d i n t h e o p e r a t i o n s — o r management of the b u s i n e s s .

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             C O N T I N U A T I O N                                   REPORT NUMBER: 076


 CASE PROGRAM CODES:

 YAI F i n a n c i a l O t h e r / C o r n    7H0 FOREIGN CORRUPTION     2 F J SHELL CORPORATIONS




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               C 0 N T I N U A T I 0N                                               •REPORT NUMBER: 07G




DETAILS OF INVESTIGATION:

On November 13, 2006, Agents a s s i g n e d t o t h e Homeland S e c u r i t y I n v e s t i g a t i o n s
(HSI) F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i n i t i a t e d a c r i m i n a l i n q u i r y
r e g a r d i n g t h e f i n a n c i a l a c t i v i t i e s of M i n i s t e r Teodoro Nguema OBIANG
 ( M i n i s t e r OBIANG) . I t i s a l l e g e d t h a t M i n i s t e r OBIANG i s d i v e r t i n g funds
a l l o c a t e d t o t h e government o f E q u a t o r i a l G u i n e a (EG) f o r h i s own p e r s o n a l
use.          M i n i s t e r OBIANG i s c u r r e n t l y t h e M i n i s t e r o f A g r i c u l t u r e and F o r e s t r y
i n EG and i s t h e s o n o f t h e P r e s i d e n t .

On November 17 a n d 18, 2011, CS # 6 was i n t e r v i e w e d a t t h e U.S. Embassy,
HMMte                       b y HSI S p e c i a l Agents, Robert Manzanares and C a r l o s F i g u e r o a .
A d d i t i o n a l l y , U.S. Department o f J u s t i c e , C r i m i n a l D i v i s i o n A s s e t F o r f e i t u r e
& Money L a u n d e r i n g a t t o r n e y , Woo Lee and F o r e i g n S e r v i c e N a t i o n a l
I n v e s t i g a t o r , D a r i o D'Andrea s e r v e d a s a t r a n s l a t o r from E n g l i s h to f M f l l B f e .




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     R E P O R T   O F   I N V E S T I G A T I O N
                C O N T I N U A T I O N                                                        REPORT NUMBER: 076




                                  I g o r approached CS # 6 a g a i n and informed him the he had
s t a r t e a ' w o r K l n g f o r a new c o n s t r u c t i o n company named GERNERAL WORKS ITALIA
(GW) . T h i s b u s i n e s s was i n E q u a t o r i a l Guinea (EG) . I g o r c l a i m e d he was
making a l o t o f money. GW a l s o h a d some o p e r a t i o n s i n I t a l y s o u t h of Rome.
I g o r sought t o r e c r u i t CS # 6 on b e h a l f of GW.

^Or^or^ab^^                                                           CS # 6                  a n d o f f e r e d him a job

o f f e r but wanted t o v i e w t h e s c o p e o f the work a n d t r a v e l l e d t o EG.                       CS # 6
                                                                                                         1
d e s c r i b e d h i s f i r s t v i s i t t o EG, s p e c i f i c a l l y l i l N M f c H f l N P f e ' a s a p o o r l y
d e v e l o p e d c o u n t r y t h a t d i d not have an a i r p o r t . T h e r e was n o t h i n g on Annabon
I s l a n d except f b r d i r t .          GW was b u i l d i n g e v e r y t h i n g , i n c l u d i n g a n a i r f i e l d .
I g o r h e l d t h e p o s i t i o n o f CEO a n d he had a p p r o x i m a t e l y 40 to 50 l o c a l workers
w o r k i n g f o r the company. CS # 6 r e c a l l e d t h a t he was i n t r o d u c e d t o E.G.
M i n i s t e r M a r c e l i n o ATUUNO who h a d a good r e l a t i o n s h i p w i t h I g o r . While a t
d i n n e r one n i g h t , ATUUNO t o l d CS # 6 t h a t a f t e r t h e c o u n t r y d i s c o v e r e d o i l ,
the c o u n t r y was i n a p o s i t i o n t o develop i t s i n f r a s t r u c t u r e and t h a t GW s t o o d
to make a l o t o f money. A f t e r CS # 6's i n i t i a l m e e t i n g he r e t u r n e d back t o
            a n d s p o k e - w i t h h i s f a m i l y about the employment o p p o r t u n i t y t h a t was
p r e s e n t e d t o him i n EG.

On                                  S # 6 moved t o EG and began t o
               _____ _               w h i l e I g o r was r e s p o n s i b l e f o r s u p e r v i s i n g the
                                                                          o   £   t   n   e
laborers.         CS # 6 s e r v e d a s the I ^ M V M H P                             company. A s i d e from
some l o c a l n a t i v e s , GW's s t a f f was comprised o f m o s t l y Lebanese and E g y p t i a n s .
As t h e b u s i n e s s b e g a n t o f l o u r i s h , a d d i t i o n a l s t a f f was added.

 CS # 6 i n s i s t e d t h a t t h e P r e s i d e n t of EG runs e v e r y t h i n g i n the country and
 h i s son, M i n i s t e r OBIANG was uneducated and l i v e d i n t h e p r e s i d e n t i a l p a l a c e
 and was a f r e q u e n t u s e r o f c o c a i n e .          GW a s s i s t e d i n t h e c o n s t r u c t i o n of
                                                      -
-Minirster-GBTAiNG-'-s—home—in—EG: No one—was" e v e r allowed, e n t r y i n s i d e r the home 7^
 M i n i s t e r OBIANG w a s e x t r e m e l y p r o t e c t i v e o f h i s r e s i d e n c e . The r e s i d e n c e was
 a b r i c k b u i l d i n g w h i c h CS # 6 d e s c r i b e d a s h a v i n g 3 f l o o r s , a p o o l w i t h
 s e v e r a l a u t o m o b i l e s c o n s i s t i n g o f Hummers and F e r r a r i s .

            r e c a l l e d t h a t M i n i s t e r OBIANG would frei




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 CS # 6 i n s i s t s t h a t a l t h o u g h t h e f a m i l y of t h e p r e s i d e n t may n o t be educated,
 they a r e n o t " s t u p i d . " There i s always a middle man i n v o l v e d when working
 with t h i s family.         F o r example, CS # 6 c l a i m s t h a t M i n i s t e r . OBIANG and/or h i s
 middle-men, M _ M R ^ H H H M V % ) would approach CS # 6 a n d i n s i s t t h a t a paved
 road was needed t o be c o n s t r u c t e d t o M i n i s t e r Obiang's home or f o r t h e t i m b e r
 companies t h a t needed t o h a r v e s t t h e t r e e s t h a t M i n i s t e r OBIANG c o n t r o l l e d .

 M i n i s t e r OBIANG's t i m b e r companies, which, a c c o r d i n g t o CS # 6, o n l y e x i s t e d
 on p a p e r and h a d no r e a l p e r s o n n e l o r o p e r a t i o n s , d i d n o t have t h e a b i l i t y
 to pave r o a d s and t h e r e f o r e , GW h a d t o complete p r o j e c t s f o r them. These
 work p r o j e c t s were a means f o r M i n i s t e r OBIANG t o s t e a l money from t h e E.G.
 t r e a s u r y . GW p r o v i d e d k i c k b a c k s t o M i n i s t e r OBIANG f o r v a r i o u s c o n t r a c t s ,
 which were h i g h l y i n f l a t e d a t M i n i s t e r OBIANG's d i r e c t i o n . These i n f l a t e d
 c o n t r a c t s were t h e p r i n c i p a l v e h i c l e through w h i c h M i n i s t e r OBIANG s t o l e
 money from t h e E.G. government's t r e a s u r y .

 For i n s t a n c e , CS # 6 e x p l a i n e d t h a t i f t h e r e a l c o s t o f a c o n s t r u c t i o n
 p r o j e c t was 2 m i l l i o n d o l l a r s , M i n i s t e r OBIANG would i n s t r u c t GW t o p r e p a r e
 and s u b m i t a p r o j e c t i n v o i c e t o t h e E.G. Government f o r 10 m i l l i o n d o l l a r s
 so t h a t h e ( M i n i s t e r OBIANG) c o u l d r e c e i v e a " k i c k back" o f 8 m i l l i o n
 d o l l a r s . T h e r e f o r e , once GW was p a i d b y t h e EG t r e a s u r y f o r t h i s i n f l a t e d
 amount, GW p r e p a r e d a b l a n k check o r b e a r e r c h e c k t h a t was d e p o s i t e d i n t o
 CCEI bank in' E G i n a n a c c o u n t c o n t r o l l e d by M i n i s t e r OBIANG o r one o f h i s
 "paper" companies. I f GW d i d n o t comply w i t h t h e s e r e q u e s t s from M i n i s t e r
 OBIANG, CS # 6 c l a i m s GW would have been k i c k e d o u t o f t h e country. A t
 first,         M i n i s t e r OBIANG's r e q u e s t s f o r k i c k b a c k s and money was modest.            Over
 time, h i s demands became more and more outrageous i n terms of how much he
 wanted t o s t e a l from t h e E.G. government.

  CS # 6 d e s c r i b e d how c o n t r a c t s awarded i n E.G. were done s o on a h i g h l y
  i n f l a t e d and f r a u d u l e n t b a s i s .  F o r i n s t a n c e , a h o s p i t a l was b u i l t by GW f o r
—20u—mirlrliTDTr"CF^ts~^5e"cause t h e p r e s i d e n t wanted. GW to" b u i l d i t and t h e o t h e r
  c o m p e t i t o r s knew t h a t t h e P r e s i d e n t wanted GW t o do t h e j o b . As t h e
  c o n s t r u c t i o n began, GW would g e t a n advance f o r 1.2 m i l l i o n CFAs and a second
  advance f o r 2.3 m i l l i o n CFAs from t h e government. The i n i t i a l advances were
  nominal b u t e v e n t u a l l y t h e c o s t o f t h e p r o j e c t would explode t o w e l l o v e r 40%
  above what was o r i g i n a l l y contemplated i n t h e c o n t r a c t .

  GW r e c e i v e d payments from t h e EG Government by way o f a w i r e t r a n s a c t i o n . CS
  # 6 c l a i m s t h a t he was i n p o s s e s s i o n o f many of t h e i n v o i c e s f o r GW and i s
  w i l l i n g s h a r e t h e s e documents t o U.S. i n v e s t i g a t o r s .

  GW was t h e l a r g e s t c o n s t r u c t i o n   company i n EG.        T h e r e was another company

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w h i c h was- o p e r a t e d w i t h t h e P r e s i d e n t ' s w i f e name EGOS A and was managed by-
Serbians.          M i n i s t e r OBIANG was p r o t e c t e d by h i s mother a s t h e P r e s i d e n t i s
w e l l aware o f t h e embarrassment t h a t M i n i s t e r OBIANG h a s c r e a t e d f o r him a n d
his family.
The r e a s o n why t h e GW r e c e i v e d most o f t h e c o n t a c t s i n E.G. was b e c a u s e I g o r
had been t r a v e l i n g t o EG p r i o r t o 1994 when o i l was d i s c o v e r e d .       Prior to the
d i s c o v e r y o f o i l , sometime between 1995 a n d 1996 w h i c h was p r i o r t o M i n i s t e r
OBIANG's appointment F o r e s t r y M i n i s t e r i n E . G . , P r e s i d e n t Obiang gave I g o r
the o p p o r t u n i t y t o r u n t h e t i m b e r companies i n E.G.

T h e r e a f t e r , the P r e s i d e n t gave I g o r a c o n t r a c t t o b u i l d a road from t h e
a i r p o r t to t h e ^ p o r t ^ n ^                                               t o GW, t h i s was .when


A s i d e from e a r n i n g money from g r a n t i n g t i m b e r c o n c e s s i o n s t o f o r e i g n l o g g e r s
and t h e h a r v e s t i n g o f t i m b e r by f o r e i g n l o g g i n g companies, M i n i s t e r OBIANG
c o n t r o l l e d t h e e x p o r t s o f a l l timber from EG. The companies t h a t were
h a r v e s t i n g t h e s e l o g s were u s u a l l y from C h i n a o r M a l a y s i a . These companies
had t o p a y M i n i s t e r OBIANG t o work i n E.G. and t o e x p o r t t h e i r l o g s .

CS # 6 c l a i m s t h a t M i n i s t e r OBIANG a l s o h a d a b e e r and b r i c k - m a k i n g f a c t o r y
t h a t he g e n e r a t e s some money from b u t he i s not f a m i l i a r w i t h t h e s e —
companies.          I n c o n t r a s t w i t h Somagui and Socage, w h i c h a r e not r e a l
companies', t h e b e e r and b r i c k companies a c t u a l l y h a d r e a l o p e r a t i o n s .
However, CS # 6 was n o t s u r e i f t h e s e e n t i t l e s were p r o f i t a b l e . CS # 6
c l a i m s t h a t t h e s e companies do i n f a c t make b e e r a n d manufacture b r i n k s . The
b e e r company w a s . f o r m u l a t e d sometime i n 2004 w h i l e t h e b r i c k company was i n
1999.
M i n i s t e r OBIANG n o t o n l y made money from t h e t i m b e r t h a t was b e i n g h a r v e s t e d
but he a l s o made money from the timber w h i c h was e x p o r t e d . M i n i s t e r OBIANG
c h a r g e d p e o p l e t o export t h e i r l o g s o u t o f E.G. CS # 6 c l a i m s t h a t t h i s
money went d i r e c t l y and p e r s o n a l l y t o M i n i s t e r OBIANG a n d not t o EG.

CS # 6 c l a i m s t h a t M i n i s t e r Obiang a l s o made money from c o l l e c t i n g p e r s o n a l
import dues from companies importing goods i n t o E.G. CS # 6 knows t h i s •
                 w   a   s
b e c a u s e 401          aware t h a t GW was r e s p o n s i b l e f o r p a y i n g f e e s p e r s o n a l l y t o
M i n i s t e r OBIANG (and h i s a s s o c i a t e s ) f o r any and a l l i m p o r t s GW brought i n t o
E.G. t h r o u g h t h e P o r t of B a t a .         For example, i f GW needed v e h i c l e s f o r t h e i r
p r o j e c t s , t h e r e were two t y p e s of f e e s t h a t had t o be p a i d by G.W. The f i r s t
was a n o f f i c i a l import t a x p a i d t o t h e g e n e r a l revenue s e r v i c e o f t h e
government. The second, however, was a p e r s o n a l f e e p a i d t o M i n i s t e r OBIANG.
These f e e s were g i v e n by GW t o a p e r s o n names f H M H H i H M H M H I who was
d i r e c t l y w o r k i n g f o r M i n i s t e r OBIANG.              was p a i d a p p r o x i m a t e l y 200
thousand CFAs p e r week by GW f o r h i s work w i t h M i n i s t e r OBIANG.                                   was

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p a i d by GW a p p r o x i m a t e l y 2000 e u r o s per month.                CS Jf- 6 e x p l a i n e d t h a t b e c a u s e
                                                                       a n <
M i n i s t e r OBIANG d i d not want t o pay I M M t t l 3                             wages; GW was f o r c e d t o
do s o .

T h e r e were. two p r i m a r y p o r t s o f e n t r y i n E.G., Malabo and B a t a . The P o r t o f
B a t a , which was u n d e r M i n i s t e r OBIANG's p e r s o n a l and d i r e c t c o n t r o l , was
m o n i t o r e d b y a n E.G. s o l d i e r .      T h i s s o l d i e r would keep t r a c k o f shipments
e n t e r i n g B a t a a n d would a s s e s s what import f e e s were owed by e a c h company on
a monthly b a s i s . E v e n t u a l l y , someone would c o n t a c t GW and inform them t h a t
t h e y owed a c e r t a i n amount o f money f o r i m p o r t s / e x p o r t s . A b e a r e r check would
be w r i t t e n a n d g i v e n t o M i n i s t e r OBIANG o r h i s a s s o c i a t e s b y GW.

CS # 6 c l a i m s t h a t Igor, a t one p o i n t i n time, was approached b y ffeHp and
a s k e d t o p r e p a r e f r a u d u l e n t b a l a n c e s h e e t s f o r one o f M i n i s t e r OBIANG's
b u s i n e s s . T h e s e stot a t e m e n t s may have been s e n t f o r c e r t i f i c a t i o n i n 4t_B_NF
00BB0/K/k                         make i t appear t h a t t h e s e paper companies, owned by M i n i s t e r
OrjxangTwere l e g i t i m a t e b u s i n e s s e s . CS # 6 c l a i m s t h a t t h e f i n a n c i a l d a t a on
t h e s e documents were f a b r i c a t e d , a s was the c e r t i f i c a t i o n o f t h e company?s
balance sheets.             CS # 6 r e i t e r a t e d t h a t M i n i s t e r OBIANG's companies were
p a p e r companies t h a t had no employees and no r e a l o p e r a t i o n s . SOMGUI o r
SOCAGE d i d n o t h a v e any employees and someone e l s e d i d the work r e l a t i n g t o
                                                                                         :
t i m b e r and c o n s t r u c t i o n .                 .

I n o r around V N M W S P V I g o r approached CS # 6 about a p r o p o s a l t h a t was
i n i t i a t e d by P r e s i d e n t OBIANG t o purchase a l l t h e s h a r e s o f GW. I g o r wanted
t o u s e the p r o c e e d s t o p u r c h a s e a n o i l w e l l s t a t i o n . I g o r t r i e d to persuade
CS # 6 t h a t t h i s was a v i a b l e v e n t u r e because o f documents t h a t I g o r r e c e i v e d
from a F r e n c h Company which showed t h a t the P r e s i d e n t ' s son, G a b r i e l l e Obiang
c o u l d not be t r u s t e d .




P r e s i d e n t OBIANG d e s c r i b e d a Lebanese man who h e l d a s p e c i a l c o u n s e l o r r o l e
w i t h i n the P r e s i d e n t ' s a d m i n i s t r a t i o n w h e r e i n h e c o n t r o l l e d a l l l e v e l s o f h i s
a d m i n i s t r a t i o n a n d would o f f e r p o l i t i c a l and f i n a n c i a l a d v i c e t o t h e
P r e s i d e n t b y t h e name of HASSAN who was Lebanese,




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CS # 6' s i m p r e s s i o n o f P r e s i d e n t OBIANG was t h a t h e was a b r i l l i a n t man who
s t u d i e d i n S p a i n , who was a p o l i t i c i a n and was i n t h e m i l i t a r y a n d was
r e s p o n s i b l e f o r k i l l i n g many people a t t h e d i r e c t i o n o f h i s u n c l e . The
   suntry—was—very-;poor^rtierrtre overthrew h i s u n c l e and a f t e r the d i s c o v e r y o f
o i l he became greedy.


                                    _                                       CS # 6_ i n s i s t s t h a t the"
                                                                                a   n   d   w   a   s   a
P r e s i d e n t "was b e h i n d t h e death of I g o r ^ N t M R H H H P N P                      dangerous
p e r s o n . The r e a s o n why he was t a l k i n g t o t n e ^ u ^ s T g o v e r n m e n t was because he
has been working w i t h l a w enforcement o v e r t h e l a s t s e v e r a l y e a r s and has
d e v e l o p e d a sound r e l a t i o n s h i p . Law enforcement h a s a s k e d t h a t h e cooperate
w i t h U.S. a u t h o r i t i e s i n o u r i n v e s t i g a t i o n .
A d d i t i o n a l l y , he l o s t o v e r 250 m i l l i o n CFAs s i n c e working i n EG.


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CS # 6 c l a i m s on one o c c a s i o n , he p e r s o n a l l y c o n t a c t e d t h e head of F e r r a r i
about a v e h i c l e t h a t M i n i s t e r OBIANG wanted t o p u r c h a s e i n the U n i t e d S t a t e s
w h i c h was y e l l o w i n c o l o r w i t h b l a c k i n t e r i o r a n d CS # 6 c l a i m s t h a t GW made
a payment o f $100,000 on b e h a l f o f M i n i s t e r OBIANG. Although t h e c a r was
t i t l e d u n d e r M i n i s t e r OBIANG, t h e payment came from GW. T h i s i s one o f t h e
t y p e s of r e q u e s t s made by M i n i s t e r OBIANG.             M i n i s t e r OBIANG made t h e s e
demands f r e q u e n t l y .

CS # 6 i n s i s t e d t h a t he would meet w i t h U.S. i n v e s t i g a t o r s a g a i n w i t h i n one
month a f t e r r e v i e w i n g l o o k h i s r e c o r d s and he s t a t e d he was w i l l i n g t o s h a r e
t h e s e documents w i t h i n v e s t i g a t o r s .

I n v e s t i g a t i o n continues.




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